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06
                              UNITED STATES DISTRICT COURT
07                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
08
     UNITED STATES OF AMERICA,            )
09                                        )
           Plaintiff,                     )
10                                        )             Case No. CR05-281-JLR-JPD
           v.                             )
11                                        )
     LEONARDO RIVAS-BARROETA,             )             DETENTION ORDER
12                                        )
           Defendant.                     )
13   ____________________________________ )
14 Offense charged:

15          Conspiracy to distribute methamphetamine, cocaine, and heroin in violation of 21 U.S.C.
16 §§ 841(a)(1), 841(b)(1)(A), and 846.

17 Date of Detention Hearing:      July 28, 2005
18          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
19 based upon the factual findings and statement of reasons for detention hereafter set forth, finds:

20         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
21          (1)     Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that defendant

22 is a flight risk and a danger to the community based on the nature of the pending charges. No

23 conditions would reasonably assure the presence of defendant at the time of trial, and defendant

24 has not overcome these presumptions.

25          (2)     The pretrial services report of July 28, 2005, indicates that defendant was born

26 in Venezuela, but his immigration status in the United States is unclear.

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01         (3)    During defendant’s interview by Pretrial Services on July 27, 2005, defendant
02 was asked what he would do if released from custody. The defendant responded that he would

03 take his fiancé to Venezuela.

04         IT IS THEREFORE ORDERED:
05         (1)    Defendant shall be detained pending trial and committed to the custody of the
06                Attorney General for confinement in a correction facility separate, to the extent
07                practicable, from persons awaiting or serving sentences or being held in custody
08                pending appeal;
09         (2)    Defendant shall be afforded reasonable opportunity for private consultation with
10                counsel;
11         (3)    On order of a court of the United States or on request of an attorney for the
12                government, the person in charge of the corrections facility in which defendant
13                is confined shall deliver the defendant to a United States Marshal for the purpose
14                of an appearance in connection with a court proceeding; and
15         (4)    The Clerk shall direct copies of this Order to counsel for the United States, to
16                counsel for the defendant, to the United States Marshal, and to the United States
17                Pretrial Services Officer.
18
                  DATED this 28th day of July, 2005.


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                                                        JAMES P. DONOHUE
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                                                        United States Magistrate Judge
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     DETENTION ORDER                                                                        15.13
     18 U.S.C. § 3142(i)                                                                 Rev. 1/91
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